             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:12-cr-00119-MR-DLH-4


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                   ORDER
                                )
                                )
AMANDA CECILE TONEY,            )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court upon the Defendant’s letter, which

the Court construes as a motion for early termination of supervised release

[Doc. 126]. Counsel for the Government and the Defendant’s supervising

probation officer have advised the Court’s chambers that there is no

opposition to the Defendant’s motion.

     Upon review of the Defendant’s motion, the Court is satisfied that the

early termination of the Defendant’s supervised release is warranted by the

Defendant’s conduct and is in the interest of justice.    See 18 U.S.C. §

3583(e)(1).

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

letter, which the Court construes as a motion for early termination of



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supervised release [Doc. 126], is GRANTED, and the Defendant’s term of

supervised release is hereby terminated.

     The Clerk of Court is directed to provide copies of this Order to the

Defendant, counsel for the Government, and United States Probation Officer

Christine Puhl.

     IT IS SO ORDERED.
                               Signed: March 11, 2016




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